          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:97CR310


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
DAMIEN LAMONT LOGAN                      )
                                         )


     THIS MATTER is before the Court on the Defendant’s appeal of the

Order of Detention entered by the Magistrate Judge.

     The Defendant was summoned to appear before the Magistrate

Judge on March 18, 2008, for an initial appearance on an alleged violation

of the conditions of his supervised release. See U.S. Probation Petition

(Sealed), filed March 4, 2008. A detention hearing was held the next day

and the Magistrate Judge ordered Defendant detained without bond until

adjudication of the supervised release violation by the District Court. Such

hearing has been scheduled for April 23, 2008.

     The Court will construe Defendant’s “Notice of Appeal” from the

Magistrate Judge’s Order of Detention as a motion for revocation or




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amendment pursuant to 18 U.S.C. § 3145(b), the statute that governs a

district court’s review of a magistrate judge’s detention order.

Nonetheless, even when its procedural posture is corrected, the Defendant

fails to offer additional evidence or argument as to why the Magistrate

Judge’s decision was in error. Accordingly, the “appeal” is summarily

denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s appeal is

DENIED, and the Magistrate Judge’s Order of Detention is AFFIRMED.



                                       Signed: March 28, 2008




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